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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

MARVIN RAY SPEARS,
Plaintit’f,
vs. Case No. 03-CV-2961-B/P

 

CANADIAN NATIONAL/ILLINOIS
CENTRAL RAILROAD f/k/a
ILLINOIS CENTRAL RAILROAD,

Defendant.

 

ORDER GRANTING PLAINTIFF’S MOTION FOR EXTENSION
OF TIME IN WHICH TO RESPOND TO DEFENDANT’S
SECOND SUPPLEMENTAL MEMORANDUM

 

Before the court is Plaintiff’ s Motion for Extension of Time in which to submit an
additional reply memorandum to Defendant’s Second Supplernental Mernorandum in Support
of its Motion for Summary and/or Motion to Dismiss, pursuant to the Cou.rt’s Order entered
May ll, 2005 directing the parties to submit additional briefs, and it appearing to the Coult
that, by agreement of the parties and for good cause shown, the Motion for Extension of
Tirne should be GRANTED; accordingly, the Plaintiff is granted ten (10) days, through and
including July 11, 2005, in which to submit an additional reply brief.

 

 

 

It is so ORDERED.
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` d States District Judge
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with Hule 58 and/or 79(3) FHCP on "' '

 

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ESSEE

 

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Honorable J. Breen
US DISTRICT COURT

